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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                       )
                                                )
                     Plaintiff,                 )
                                                )
       vs.                                      )                8:08CR147
                                                )
MARILYN K. ADAMS and                            )                  ORDER
JEFFREY L. ADAMS,                               )
                                                )
                     Defendants                 )


       This matter is before the court on the motion of Marilyn K. Adams to continue trial
[20]. The movant has filed a waiver of speedy trial, as required by NECrimR 12.1 and/or
12.3. For good cause shown, the court will grant a continuance to November 18, 2008.

       IT IS ORDERED that the motion to continue trial [20] is granted, as follows:

       1. The trial of this matter is continued to Tuesday, November 18, 2008 at 9:00
a.m. in Courtroom No. 2, Third Floor, Roman L. Hruska United States Courthouse, 111
South 18th Plaza, Omaha, Nebraska. Judge Smith Camp will meet with counsel in
chambers at 8:30 a.m. on the first day of trial.

        2. In accordance with 18 U.S.C. § 3161(h)(8)(A), the court finds that the ends of
justice will be served by granting a continuance and outweigh the interests of the public
and the defendant in a speedy trial. Any additional time arising as a result of the granting
of this motion, that is, the time between July 29, 2008 and November 18, 2008, shall be
deemed excludable time in any computation of time under the requirement of the Speedy
Trial Act because counsel require additional time to adequately prepare the case, taking
into consideration due diligence of counsel and the novelty and complexity of this case.
The failure to grant additional time might result in a miscarriage of justice. 18 U.S.C. §
3161(h)(8)(A) & (B)(iv).

       DATED July 17, 2008.

                                             BY THE COURT:

                                             s/ F.A. Gossett
                                             United States Magistrate Judge
